                                UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA


  NATIONAL TPS ALLIANCE, et al.,                       Case No. 25-cv-01766-EMC

                  Plaintiffs,                          ORDER SETTING INITIAL CASE
           v.                                          MANAGEMENT CONFERENCE
                                                       AND ADR DEADLINES
  KRISTI NOEM, et al.,
                  Defendants.


       This action is assigned to the Honorable Edward M. Chen.
       Service of documents. When serving the complaint or notice of removal, the plaintiff or
removing defendant must serve on all other parties a copy of this order and the supplementary
material specified in Civil Local Rule 4-2.
       Availability of Alternative Dispute Resolution. This action is assigned to the
Alternative Dispute Resolution (ADR) Multi-Option Program governed by ADR Local Rule 3.
Counsel and clients shall familiarize themselves with that rule and with the material entitled
“Dispute Resolution Procedures in the Northern District of California” on the Court’s ADR
webpage at www.cand.uscourts.gov/adr.
        Important case management dates. Counsel must comply with the dates listed below
unless the judge otherwise orders.

 Case Management Event                                                    Deadline
 File Certification of Conflicts and Interested Entities or Persons.      Upon first appearance
 (See Civil L.R. 3-15)                                                    (and supplement
                                                                          as necessary)
 Deadline to file ADR Certification.                                      4/29/2025
 (See ADR L.R. 3)

 Deadline to meet and confer re: initial disclosures, early settlement,   4/29/2025
 ADR process selection, and discovery plan.
 (See F.R. Civ. P. 26(f))
 Deadline to make initial disclosures.                                    5/13/2025
 (See F.R. Civ. P. 26(a)(1))
 Deadline to file Joint Case Management Statement.                        5/13/2025
 (See Standing Order for All Judges of the Northern District of
 California)
 Initial Case Management Conference: To be held by Zoom. Go to            5/20/2025 at 1:30 PM
 cand.uscourts.gov/emc for Zoom link.
